                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TENNESSEE
                                       AT JACKSON

ANDERSON EYE CARE OF WEST                      )
TENNESSEE,                                     )
                                               )
        Plaintiff,                             )
                                               )
v.                                             )   NO. 1:23-cv-1092
                                               )   JURY DEMANDED
AUTO-OWNERS INSURANCE                          )
COMPANY, and MICHAEL KNIGHT,                   )
                                               )
        Defendants.                            )
                                               )

                            MICHAEL KNIGHT’S MOTION TO DISMISS

        Come now Defendant, Michael Knight (“Knight”), by and through undersigned

counsel, pursuant to Fed. R. Civ. P. 12(b)(6), and for its Motion to Dismiss Plaintiff’s

Complaint would state as follows:

        1.       On or about February 17, 2023, more than ninety (90) days ago, the Plaintiff

filed a civil action in the Chancery Court for Weakley County, Tennessee against Auto-

Owners Insurance Company (“Auto-Owners”), and Knights styled Anderson Eye Care of

West Tennessee v. Auto-Owners Insurance Co, et al., Case No. 25551.

        2.       Knight has not been served with process as of the date of this motion but

has timely removed this action, pursuant to 28 U.S.C. § 1446(b)(1), from the Chancery

Court for Weakley County, Tennessee to the United States District Court for the Western

District of Tennessee on May 19, 2023 on the basis of diversity jurisdiction, following

notice of Case No. 25551 and a copy of the initial pleading being provided to Knight, by

counsel for Knight, on May 19, 2023.




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        3.       Knight asserts that he was fraudulently joined as a defendant in this

litigation for the sole purpose of attempting to defeat diversity jurisdiction.

        4.       Plaintiff filed this lawsuit alleging various causes of action including: 1)

compel appraisal and appoint umpire; 2) umpire qualifications; 3) breach of contract; 4)

punitive damages; and 5) violations of the Fraudulent Insurance Act against Auto-

Owners, and alleges a single cause of action against Knight, violation of the Fraudulent

Insurance Act (“Act”)1.

        5.       As set forth in Knight’s Memorandum of Law in Support of its Motion to

Dismiss (“Memorandum”) filed contemporaneously with this motion, the only cause of

action against Knight in this case is under Tenn. Code § 56-53-103(a)(1), which is a

Tennessee statute that is inapplicable to Knight given that a violation of such statute can

only occur when an insured person or someone acting on behalf of an insured person

knowingly presents false, material information in connection with an insurance claim.

        6.       The Unlawful Insurance Act provision states in pertinent part:

                 (a)      Any person who commits, participates in, or aids, abets, or
                          conspires to commit, or solicits another person to commit, or
                          permits its employees or its agents to commit any of the
                          following acts with an intent to induce reliance, has committed
                          an unlawful insurance act:

                          Presents, causes to be presented, or prepares with
                          knowledge or belief that it will be presented, by or on behalf
                          of an insured, claimant or applicant to an insurer, insurance
                          professional or a premium finance company in connection
                          with an insurance transaction or premium finance transaction,
                          any information that the person knows to contain false
                          representations, or representations the falsity of which
                          the person has recklessly disregarded, as to any material
                          fact, or that withholds or conceals a material fact, concerning
                          any of the following…

1The “Fraudulent Insurance Act” is actually known as the “Unlawful Insurance Act.” See Tenn. Code Ann.
§ 56-53-103. A copy is attached hereto as Exhibit A.




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Tenn. Code § 56-53-103(a)(1) (emphasis added).

        7.       Knight does not work for the insured in this case, Plaintiff, and Knight does

not perform its services for insured persons, in general. Rather, Knight is an independent

adjuster/building consultant/estimator that provides damage estimates to insurance

companies like Auto-Owners.

        8.       Accordingly, and as discussed in detail in Knight’s Memorandum and in

Knight’s Notice of Removal (Doc. 1), Plaintiff cannot establish a cause of action against

Knight – or Auto-Owners – under Tenn. Code § 56-53-103(a)(1).

        9.       Furthermore, even if Plaintiff could bring such cause of action against

Knight, Plaintiff wholly failed to plead the requisite information to state a claim for a

violation of this particular Tennessee statute.

        10.      Plaintiff is required to not only meet the notice pleading standard but also

the heightened pleading standard that applies to pleading a fraud claim. Fed. R. Civ. P.

8(a)(2); Fed. R. Civ. P. 9(b).

        11.      Plaintiff does not meet either of these pleading standards for two reasons.

First, the relief sought by Plaintiff is not relief allowed under the statute, and generally,

Plaintiff did not plead that Knight was an insured person (because Plaintiff is incapable of

pleading such fact). Second, Plaintiff failed to meet the particularity requirements of Fed.

R. Civ. P. 9(b), because Plaintiff failed to plead that any information Knight provided was

“material,” failed to plead with particularity as to the allegedly false information provided

by Knight, failed to plead that any false information was presented by Knight, and failed

to correctly quote any report provided by Knight attached to the Complaint as an exhibit.




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        12.      Therefore, Plaintiff failed to properly serve Knight with process and failed to

state a claim against Knight and for these reasons, the Complaint should be dismissed

with prejudice under Fed. R. Civ. P. 12(b)(5) and 12(b)(6).

        13.      Knight incorporates by reference the arguments set forth in its

Memorandum of Law in Support of its Motion to Dismiss, filed contemporaneously

herewith.

        WHEREFORE, premises considered, Knight respectfully requests this Honorable

Court grant this Motion and dismiss, with prejudice, under 12(b)(6), the Complaint filed

against Knight, and for all other relief this Honorable Court deems just and proper.



                                              Respectfully submitted,


                                              s/Matthew B. Rogers____________________
                                              MATTHEW B. ROGERS
                                              Registration No: 038777
                                              Main: (615) 256-8787 ext. 121
                                              Direct: (615) 630-7725
                                              mrogers@bkblaw.com
                                              Attorney for Defendant, Michael Knight

                                              BREWER, KRAUSE, BROOKS, CHASTAIN &
                                              MEISNER, PLLC
                                              545 Mainstream Drive, Suite 101
                                              Nashville, TN 37228




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                                      CERTIFICATE OF SERVICE

          I hereby certify that on this 23rd day of May, 2023, a true and correct copy of the
foregoing MICHAEL KNIGHT’S MOTION TO DISMISS was filed electronically. Notice of
this filing will be sent by operation of the court’s electronic filing system to all parties indicated
on the electronic filing receipt. All other parties will be served by regular U. S. Mail. Parties
may access this file through the court’s electronic filing system.

Drayton Berkley, Esq.
The Berkley Law Firm, PLLC
1255 Lynnfield Road, Suite 226
Memphis, TN 38119
attorneyberkley@gmail.com

Bradford D. Box, Esq.
Blake M. Tims, Esq.
Rainey, Kizer, Reviere & Bell, P.L.C.
209 East Main Street
P. O. Box 1147
Jackson, TN 38302-1147
bbox@raineykizer.com
btims@raineykizer.com


                                               s/Matthew B. Rogers____________________
                                               MATTHEW B. ROGERS

MBR:




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